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                                                           DOCUMENT
 UNITED STATES DISTRICT COURT                              ELECTRONICALLY FILED
 SOUTHERN DISTRICT OF NEW YORK                             DOC#:
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                                                           DATEF-IL-ED_:_

UNITED STATES OF AMERICA
                                                      PROTECTIVE ORDER
           -    V,   -
                                                      1 9 Cr. 4 4 4 (RMB)
JOHN PIERRE DUPONT ,
   a/k/a "John Gary Rinaldo ,"
   a/k/a "John Gary ,"


                         Defendant .
                                        X


 RICHARD M. BERMAN, United States District Judge:

               WHEREAS the Government intends to produce in

unredacted form to JOHN PIERRE DUPONT, a/k/a "John Gary

Rinaldo ," a/k/a "John Gary ," the defendant, certain documents

and materials pursuant to Federal Rule of Criminal Procedure 16

 ("Rule 16"), and pursuant to any other disclosure obligations

 (collectively, the "Discovery" ) , which contain sensitive,

confidential, or personal identifying information;

               WHEREAS, the Government seeks to protect sensitive,

confidential , or personal identifying information contained in

the materials it produces consistent with Rule 16 or other

disclosure obligations;

               WHEREAS the defendant, through his co u nsel, consents

to the entry of this Order ;




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              IT HEREBY IS ORDERED :

              1.   Copies of discovery materials produced by the

Government in t h is action bearing " confidential " stamps or

otherwise designated as "confidential " and/or electronic

d i scovery materials designated as "confidential " by the

Government are deemed " Confident i al Information ";

              2.   Confidential Information disclosed to the

defendant , or to the defendant ' s attor n eys , respectively , during

the course of proceedings in this action :

                   a)   shall be used by the defendant or his

counsel only for purposes of the defense of this action ;

                   b)   shall not be copied o r otherwise recorded or

transmitted by t he defendant ;

                   c)   shall not be disclosed or distrib u ted i n any

form b y the defendant or his counsel except as set forth in

parag r aph 2(d) below ;

                   d)   may be disclosed only by the defendant ' s

counsel and only to the following persons (" Designated

Persons " )

                         i.   investigative , secretarial , clerical ,

or paralegal personnel employed full - time or part-time by the

defendant ' s counsel   (" Defense Staff " ) ;




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                       ii .   independent expert witnesses,

investigators, or advisors retained by the defendant ' s counsel

in connection with this action;

                      iii.    such other persons as hereafter may be

authorized by the Court upon a motion by the defendant ;

                 e)    may be shown to , but not disseminated to or

provided copies of to , prospective witnesses and their counsel

(collectively, " Potential Witnesses"), to the extent deemed

necessary by defense counsel, for trial preparation, and after

defense counsel and/or Defense Staff instructs such

individual(s) of the terms of this Order and that such

individual(s) are bound by this Order; and

                 f)    shall be returned to the Government

following the conclusion of the trial of the above-referenced

action or upon the defendant ' s sentencing , as the case may be ,

and any all copies made of said material shall be shredded ,

erased , and/or destroyed, as the case may be .

           3.   Copies of discovery materials produced by the

Government in this action bearing " highly confidential" stamps

or otherwise designated as "highly confidential" and/or

electronic discovery materials designated as "highly

confidential " by the Government are deemed '' Highly Confidential

Information";




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           4.    Highly Confidential Information disclosed to the

defendant's attorneys during the course of proceedings in this

action:

                 a)    shall not be possessed by, or be copied or

otherwise recorded or transmitted by, the defendant;

                 b)    shall be maintained in a safe and secure

manner solely by defense counsel;

                 c)    shall be used by defense counsel and

Designated Persons only for purposes of the defense of this

action;

                 d)    shall not be disclosed or distributed in any

form by the defendant or his counsel except only to Designated

Persons, as defined above;

                e)    may be shown to, but not disseminated to or

provided copies of to,    Potential Witnesses,     to the extent deemed

necessary by defense counsel, for trial preparation , and after

defense counsel and/or Defense Staff instr ucts such

individual(s) of the terms of this Order and that such

individual(s) are bound by this Order; and

                f)    shall be returned to the Government

following the conclusion of the trial of the above - referenced

action or upon the defendant's sentencing, as the case may be,

and any all copies made of said material shall be shredded,

erased, and/or destroyed, as the case may be.



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           5.    The defendant and his counsel shall provide a

copy of this Order to Designated Persons to whom they disclose

Confidential Information or Highly Confidential Information

pursuant to paragraphs 2(d) or 4(d) .       Prior to disclosure of

such information to Designated Persons , pursuant to paragraph

2(d) or 4(d) , any such Designated Person shall agree to be

subject to the terms of this Order by signing a copy hereof and

s t ating that they "Agree to be bound by the terms herein , " and

providing such copy to the defendant ' s counsel .       However , the

defendant and his or her respective counsel need not obtain

signatures from any member of the defense team (i . e. , attorneys,

experts , consultants , paralegals , investigators , support

personnel , and secretarial staff involved in the representation

of the defendants in this case) , all of whom are nonetheless

bound by this Protective Order .

          6.    The defendant and defense counsel are precluded ,

unless authorized by the Government in writing or by Order of

the Court , from filing publicly as an attachment to a filing or

excerpted within a filing , any discovery materials identified as

Highly Confidential Information.        Nothing in this Order

precludes the defendant or defense counsel from using any

discovery in judicial proceedings in this case.

          7.    The provisions of this Order shall not be

construed as preventing the disclosure of any discovery



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information other than Highly Confidential Information in any

motion, hearing , trial , or sentencing proceeding held in

connection with the above-referenced action or to any District

Judge or Magistrate Judge of this Court            (or their staff)    for

purposes of the above-referenced action.

SO ORDERED :

Dated:     Ne~   {~~k,   New York
           ~-'                 20~



                                          ?~
                                 HONORABLE RICHARD M. BERMAN
                                 United States District Judge

AGREED AND CONSENTED TO:

Dated : December 30 , 2019
New York, New York
                                 GEOFFREY S. BERMAN
                                 United States Attorney
                                 so J thern District of New York



                         By:
                                 Alex Rossmiller/ Ryan Finkel
                                 Assistant United States Attorneys



Dated: ..x.i~u~ 12_,     '2o'2-C
New York , N~ York

                                 JOHN PIERRE DUPONT



                         By:
                                                      Esq .
                                                              Dupont




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